                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA,
                  Plaintiff,                                      No. 15-CR-2037-LRR
 vs.                                                                       ORDER
 DANIELA CASTELLANOS,
                  Defendant.
                                      ____________________

                                      TABLE OF CONTENTS

I.       INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
II.      RELEVANT PROCEDURAL BACKGROUND . . . . . . . . . . . . . . . . . . . . 2
III.     STANDARD OF REVIEW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
IV.      RELEVANT FACTUAL BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . 3
V.       ANALYSIS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
         A.     Probable Cause . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                1.    Legal standard . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                2.    Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
         B.     Necessity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
                1.    Legal standard . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
                2.    Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
VI.      CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10


                                        I. INTRODUCTION
         The matter before the court is Defendant Daniela Castellanos’s Objections (docket
no. 243) to United States Chief Magistrate Judge Jon S. Scoles’s Report and
Recommendation (docket no. 240), which recommends that the court deny Defendant’s
Motion to Suppress Wiretap Evidence (“Motion”) (docket no. 189).



      Case 6:15-cr-02037-LRR-CJW            Document 272          Filed 05/05/16       Page 1 of 10
                  II. RELEVANT PROCEDURAL BACKGROUND
       On August 26, 2015, the grand jury returned an Indictment (docket no. 12) charging
Defendant and ten others with one count of conspiracy to distribute methamphetamine, in
violation of 21 U.S.C. § 841(a)(1) and 846. The Indictment also contains a forfeiture
allegation. On March 11, 2016, Defendant filed the Motion. On March 17, 2016, the
government filed a Resistance (docket no. 200). On March 22, 2016, Judge Scoles held
a hearing on the Motion. See March 22, 2016 Minute Entry (docket no. 204). Defendant
appeared in court with her attorney, Wallace Taylor. Assistant United States Attorney Lisa
Williams represented the government. On April 5, 2016, Judge Scoles issued the Report
and Recommendation, which recommends that the court deny the Motion. On April 19,
2016, Defendant filed the Objections. The government did not file a response to the
Objections and the time for doing so has expired. The Report and Recommendation and
the Objections are fully submitted and ready for decision.
                            III. STANDARD OF REVIEW
       When a party files a timely objection to a magistrate judge’s report and
recommendation, a “judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendations to which
objection is made.” 28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b)(3) (“The
district judge must consider de novo any objection to the magistrate judge’s
recommendation.”); United States v. Lothridge, 324 F.3d 599, 600 (8th Cir. 2003) (noting
that a district judge must “undertake[] a de novo review of the disputed portions of a
magistrate judge’s report and recommendations”). “A judge of the court may accept,
reject, or modify, in whole or in part, the findings or recommendations made by the
magistrate judge.” 28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b)(3) (“The
district judge may accept, reject, or modify the recommendation, receive further evidence,
or resubmit the matter to the magistrate judge with instructions.”). It is reversible error


                                            2


   Case 6:15-cr-02037-LRR-CJW         Document 272      Filed 05/05/16    Page 2 of 10
for a district court to fail to engage in a de novo review of a magistrate judge’s report
when such review is required. Lothridge, 324 F.3d at 600. Accordingly, the court
reviews the disputed portions of the Report and Recommendation de novo.
                    IV. RELEVANT FACTUAL BACKGROUND1
       On February 25, 2015, AUSA Williams presented an application for a Title III
wiretap on Target Telephone 16 and a continuation of a wiretap on Target Telephone 9
to the court. See Application (docket no. 189-2). The application included a letter of
approval and memorandum of authorization for interception from the United States
Department of Justice. See id. at 16-18. The application also included an affidavit from
Bryan Furman, Task Force Officer of the Drug Enforcement Administration (“DEA”).
See id. at 21.
       The application includes an overview of various wiretaps previously used in the
investigation of a drug trafficking organization allegedly led by Mario Murillo-Mora. The
history of wiretaps included in the application began in October of 2014 and continued on
various target telephones through February 28, 2015. The application states that “[t]here
is probable cause to believe that Target Telephone 9 and Target Telephone 16 have been
used, are being used, and will continue to be used by Mario Murillo-Mora, and others as
yet unknown, in connection with the commission of” the crime of conspiracy to distribute
controlled substances. Id. at 5 (formatting omitted). The application requested that the
court grant an extension of the wiretap on Target Telephone 9 and authorize a wiretap on
Target Telephone 16, based on Officer Furman’s affidavit.




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         After reviewing the application and affidavit, the court finds that Judge Scoles
accurately and thoroughly set forth the relevant facts in the Report and Recommendation.
See Report and Recommendation at 2-7. Accordingly, the court only briefly summarizes
the facts. When relevant, the court relies on and discusses additional facts in conjunction
with its legal analysis.

                                            3


   Case 6:15-cr-02037-LRR-CJW         Document 272      Filed 05/05/16    Page 3 of 10
       In the affidavit, Officer Furman states that he has been an officer with the Cedar
Rapids, Iowa Police Department since July of 1994 and a Task Force Officer with the
DEA since September of 2009. Id. at 21. His past experience includes conducting or
participating in more than 100 investigations of the “unlawful importation, possession, and
distribution of controlled substances, as well as related money laundering . . . involving
the proceeds of specified unlawful activities and conspiracies associated with criminal
narcotics . . . .” Id. at 22. Officer Furman states that based on his own personal
knowledge, reports from other law enforcement officers and information from confidential
sources, there is probable cause to believe that at least sixty individuals were committing
violations of federal controlled substance laws.
       Officer Furman’s affidavit describes various facts establishing probable cause for
the wiretap on Target Telephone 16. See id. at 53-79. The affidavit also incorporates by
reference ten prior affidavits, which were submitted in support of the prior wiretaps.2 The
affidavit describes various investigative techniques that law enforcement utilized to gather
information regarding the distribution and sale of methamphetamine. These include text
messages and telephone calls placed or received by Murillo-Mora on Target Telephone 16,
which law enforcement accessed through a pen register and trap and trace device.
       The affidavit also sets forth facts purportedly establishing the necessity for a
wiretap. See id. at 79-123. These facts include an outline of various investigative
techniques, the extent to which those techniques were utilized and Officer Furman’s
analysis of why those techniques would not be sufficient to achieve the goals of the
investigation absent the requested wiretaps. See id. The affidavit and its contents are
discussed in more detail below.


       2
        All but one of the affidavits were submitted to the court. The other was submitted
to and approved by Chief Judge John Jarvey of the United States District Court for the
Southern District of Iowa. See Report and Recommendation at 5 n.4; see also Application
at 53 n.2.

                                             4


   Case 6:15-cr-02037-LRR-CJW         Document 272       Filed 05/05/16    Page 4 of 10
                                     V. ANALYSIS
       In the Objections, Defendant objects to Judge Scoles’s conclusions that probable
cause existed for the wiretap and that the affidavit sufficiently demonstrates the necessity
required for the warrant. See Objections at 2-5.
                                   A. Probable Cause
       In the Report and Recommendation, Judge Scoles found that
              the facts submitted in Officer Furman’s affidavit, together with
              the facts submitted in the 10 preceding affidavits, when
              considered in a commonsense fashion, clearly establish
              probable cause to believe that Murillo-Mora was engaged in
              the unlawful distribution of a controlled substance. Moreover,
              there was probable cause to believe that communications
              pertaining to the drug trafficking could be obtained through a
              wiretap on [T]arget [T]elephone 16. Accordingly . . . the
              application and supporting affidavit satisfy the probable cause
              requirements of § 2518(3)(a) and (b).
Report and Recommendation at 10. Defendant argues that Judge Scoles incorrectly relied
on Officer Furman’s beliefs and opinions to find probable cause, instead of facts. See
Objections at 2-3. Defendant also argues that Judge Scoles’s “practical, common-sense”
reading of the affidavit amounted to reading it “in the light most favorable to the
government,” and that the Report and Recommendation is unclear regarding how Officer
Furman’s experience and training supported a finding of probable cause “or provided a
basis for the Report and Recommendation.” Id. at 4.
       1.     Legal standard
       Upon application and before issuing an order authorizing or approving “the
interception of a wire, oral, or electronic communication,” a judge must find “probable
cause for belief that an individual is committing, has committed, or is about to commit a
particular offense” and that “there is probable cause for belief that particular
communications concerning that offense will be obtained through such interception.” 18


                                             5


   Case 6:15-cr-02037-LRR-CJW         Document 272       Filed 05/05/16    Page 5 of 10
U.S.C. § 2518(3). “The probable cause required for allowing electronic interception of
wire communications is the same as that required by the Fourth Amendment for a search
warrant.” United States v. Milton, 153 F.3d 891, 894 (8th Cir. 1998) (citing United States
v. Macklin, 902 F.2d 1320, 1324 (8th Cir. 1990)). “In determining probable cause, [the
court is] bound to consider only the facts contained within the four corners of the
affidavit.” Id. Therefore, “to grant an application for a wiretap, district courts must make
a ‘practical, common-sense decision whether,’ considering the ‘totality-of-the-
circumstances . . . there is a fair probability that contraband or evidence of a crime will
be found in a particular place.’” United States v. Thompson, 690 F.3d 977, 984-85 (8th
Cir. 2012) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)); see also United States
v. Gaines, 639 F.3d 423, 432-33 (8th Cir. 2011) (“Courts must test applications for
wiretaps . . . in a practical and commonsense fashion . . . .” (quoting United States v.
Garcia, 785 F.2d 214, 221-22 (8th Cir. 1986)) (alteration in original)).
       2.     Application
       Officer Furman’s affidavit contains a section titled “Facts Establishing Probable
Cause.” See Application at 53 (formatting omitted). In that section, he sets forth
information detailing how, using a combination of pen registers, trap and trace devices and
wiretaps, investigators uncovered information regarding Murillo-Mora’s and his associates’
drug trafficking operation. See, e.g., id. at 54-77. Furthermore, Officer Furman provides
his analysis of information from the pen register and trap and trace device on Target
Telephone 16, which includes 641 text messages from 60 different telephone numbers
between February 6, 2015 to February 17, 2015. Id. at 77-79. Officer Furman states that
he believes “these text messages are indicative of drug trafficking activity or indicative of
planned actions towards the facilitation of drug trafficking activity.” Id. at 78. The
affidavit also states that law enforcement utilized a confidential informant who “provided
information about the membership, structure, and customs” regarding this drug trafficking


                                             6


   Case 6:15-cr-02037-LRR-CJW          Document 272      Filed 05/05/16     Page 6 of 10
enterprise.   Id. at 51.    The confidential informant’s information was independently
corroborated through various databases, such as: “Facebook and the Iowa Secretary of
State, . . . employment records, Iowa Department of Transportation files, physical
surveillance, telephone analysis, and text messages obtained through consent and the
execution of a search warrant.”        Id. at 52.    Additionally, the affidavit specifically
incorporates past affidavits which were used in support of wiretap applications. See id.
at 53. Defendant objects to any reliance “on the prior wiretap orders on other phones.”
Objections at 3. However, Defendant mischaracterizes the court’s analysis, which looks
only to the affidavits explicitly mentioned within the instant application, that is, “within
the four corners” of the application at issue. See Milton, 153 F.3d at 894. Under “a
practical and commonsense” reading of the affidavit, it is clear that probable cause existed
for the wiretap.
       Defendant’s objection that it is unclear how Officer Furman’s experience and
training support a finding of probable cause is inapposite. At the beginning of the
affidavit, Officer Furman states that he has more than twenty years’ experience as a police
officer and has been a Task Force Officer for the Drug Enforcement Administration since
2009. Application at 21-22. Officer Furman’s experience bears directly on whether his
opinions, based on facts set out at length in the affidavit, are sufficient to support a finding
of probable cause. Accordingly, Officer Furman’s analysis of the information, based on
his substantial experience in drug-related investigations, is relevant to the finding of
probable cause. Based on the facts contained in the affidavit, the court finds that probable
cause existed both “for belief that an individual is committing, has committed, or is about
to commit a particular offense” and “that particular communications concerning that
offense will be obtained though such [wiretap].” 18 U.S.C. § 2518(3). Therefore, the
court shall overrule Defendant’s Objections to the extent she argues there was no probable
cause for the wiretap.


                                               7


   Case 6:15-cr-02037-LRR-CJW           Document 272       Filed 05/05/16     Page 7 of 10
                                       B. Necessity
       In the Report and Recommendation, Judge Scoles found that “the application and
supporting affidavit met the necessity requirement found in 18 U.S.C. § 2518(3)(c).”
Report and Recommendation at 12. His finding was based on the fact that normal
investigative procedures were tried and failed or were deemed unlikely to succeed. See
id. at 11-12. Defendant argues that “the government did not try normal investigative
procedures” and failed to make “a reasonable attempt to obtain cooperation
from . . . suspects.” Objections at 5.
       1.     Legal Standard
       “[A]ny application for a wiretap must include ‘a full and complete statement as to
whether or not other investigative procedure have been tried and failed or why they
reasonably appear to be unlikely to succeed if tried or to be too dangerous . . . .’” United
States v. Turner, 781 F.3d 374, 382 (8th Cir. 2015) (quoting 18 U.S.C. § 2518(1)(c)).
“[B]efore granting an application, the court must find that ‘normal investigative
procedures’ have failed or ‘reasonably appear to be unlikely to succeed if tried or to be too
dangerous.’” United States v. West, 589 F.3d 936, 939 (8th Cir. 2009) (quoting 18
U.S.C. § 2518(3)(c)). Although “[w]iretaps should not be ‘routinely employed as the
initial step in an investigation,’” the law “does not require that law enforcement officers
exhaust all possible techniques before applying for a wiretap.” Turner, 781 F.3d at 383-84
(quoting United States v. Macklin, 902 F.2d 1320, 1326 (8th Cir. 1990)). Furthermore,
“[w]hether the statutory requirement is met is to be determined by the issuing judge in a
commonsense manner, and the determination is a finding of fact . . . .” United States v.
Thompson, 690 F.3d 977, 986 (8th Cir. 2012) (quoting Macklin, 902 F.2d at 1327).
       2.     Application
       In the affidavit, Officer Furman identifies numerous investigative techniques that
law enforcement officers engaged in, as well as those that were considered but ultimately


                                             8


   Case 6:15-cr-02037-LRR-CJW          Document 272      Filed 05/05/16     Page 8 of 10
deemed unlikely to succeed or too dangerous.          See Application at 79-123.      These
techniques include the use of confidential sources, controlled purchases of
methamphetamine, physical surveillance, the use of undercover agents, search warrants,
interviews, grand jury subpoenas, trash searches, pole cameras, pen registers, trap and
trace devices, mail cover requests and financial investigations. Officer Furman explained,
for each method, why it was insufficient to achieve the goals of the investigation without
a wiretap or, for those techniques that were not utilized, why law enforcement deemed
those methods unsuitable. See id. Defendant argues that the affidavit “demonstrated
repeated occasions when investigators had information or had suspects who were arrested
or could have been arrested, that would have led to further evidence” and that by failing
to take advantage of these opportunities, law enforcement did not sufficiently utilize
“normal investigative procedures.” Objections at 4-5. Defendant states that “[t]here is
no indication that investigators in this case made a reasonable attempt to obtain cooperation
from the suspects.” Id. at 5.
       The court agrees with Judge Scoles’s finding that the necessity requirement is met.
Officer Furman’s affidavit states that law enforcement interviewed several individuals and,
for a time, utilized a confidential source. See Application at 109-12. To the extent
Defendant argues that certain individuals could have been “arrested and forced to
cooperate with the prosecution,” the court rejects the plausibility of such a scenario.
Defendant’s suggestion is speculative and Defendant has not set forth any evidence
suggesting such efforts on the part of the government would have been fruitful. In any
event, the case law does not appear to require such efforts before the government can seek
permission for a wiretap. See Turner, 781 F.3d at 383-84. Furthermore, “[i]f law
enforcement officers are able to establish that conventional investigatory techniques have
not been successful in exposing the full extent of the conspiracy and the identity of each
coconspirator, the necessity requirement is satisfied.” West, 589 F.3d at 939 (quoting


                                             9


   Case 6:15-cr-02037-LRR-CJW          Document 272      Filed 05/05/16     Page 9 of 10
United States v. Jackson, 345 F.3d 638, 644 (8th Cir. 2003)). Given all of the facts
outlined in Officer Furman’s affidavit, the court finds that the necessity requirement of 18
U.S.C. § 2518(3)(c) is met. Accordingly, the court shall overrule Defendant’s Objections
to the extent she argues the government failed to satisfy the necessity requirement.
                                   VI. CONCLUSION
       In light of the foregoing, IT IS HEREBY ORDERED:
       (1)    The Objections (docket no. 243) are OVERRULED;
       (2)    The Report and Recommendation (docket no. 240) is ADOPTED; and
       (3)    The Motion to Suppress (docket no. 189) is DENIED.
       DATED this 5th day of May, 2016.




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  Case 6:15-cr-02037-LRR-CJW          Document 272      Filed 05/05/16    Page 10 of 10
